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  AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)                ‫ ܆‬Original          ‫ ܆‬Duplicate Original


                                    UNITED STATES DISTRICT COURT                                                        
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    7/20/2021                                                 for the                                                   07/20/2021
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        DTA
                                                  Central District of California                                               mba
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   United States of America

                      v.
                                                                          Case No. PM'87<
   Ralik Charity,

                      Defendant.


                                 CRIMINAL COMPLAINT BY TELEPHONE
                                OR OTHER RELIABLE ELECTRONIC MEANS
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

  On or about the date(s) of June 12, 2021 in the county of Orange in the Central District of California, the

  defendant violated:

               Code Section                                             Offense Description

               18 U.S.C. § 844(e)                                       unlawful threats to destroy a building
                                                                        using explosives

           This criminal complaint is based on these facts:

              Please see attached affidavit.

           _ Continued on the attached sheet.

                                                                                              /s/
                                                                                     Complainant’s signature

                                                        Thomas Vasquez, United States Department of Homeland Security, Federal Protective Service
                                                                                               ((“FPS”))
                                                                                       Printed name and title
   Attested to by the applicant in accordance with the requirements
                                                              ments of Fed.
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                                                                                 Crim
                                                                                 Cri . P. 4.1
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                                                                                                by telephone.
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Date:                     July 20, 2021
                                                                                                    Judge’s signature

City and state:           Santa Ana, California                               Hon John D.
                                                                                       D Early,
                                                                                          Early U
                                                                                                U.S.
                                                                                                  S Magistrate Judge
                                                                                               Printed name and title

AUSA Melissa Rabbani E.
(x3499)
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                                           AFFIDAVIT

      I, Thomas Vasquez, being duly sworn, declare and state as follows:

                                 I.   PURPOSE OF AFFIDAVIT

       1.     This affidavit is made in support of a criminal complaint against, and arrest

warrant for, Ralik Charity (“CHARITY”) for violations of 18 U.S.C. § 844(e) (unlawful threats

to destroy a building using explosives).

       2.     The facts set forth in this affidavit are based upon my personal observations; my

training and experience; and information obtained from various law enforcement personnel and

witnesses. This affidavit is intended to show merely that there is sufficient probable cause for

the requested complaint and warrant and does not purport to set forth all of my knowledge of or

investigation into this matter. Unless specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance and part only.

                      II.    BACKGROUND OF THOMAS VASQUEZ

       3.     I am a Special Agent (“SA”) with the United States Department of Homeland

Security, Federal Protective Service (“FPS”). I have been in this position since August 2017.

From 2013 to July 2017, I was an FPS uniformed law enforcement officer. In that position, I

conducted various preliminary investigations including threats to government facilities. As part

of my official duties as a SA, I investigate crimes against the United States that originate on

United States government property, including threats to government facilities.

       4.     I have completed two basic training courses at the Federal Law Enforcement

Training Center in Glynco, Georgia, which included training in the investigation of various

crimes. Prior to becoming a FPS uniformed law enforcement officer, I worked as a Police

Officer with the City of Maricopa in Kern County, California, from December 2010 to March

2012. I completed training at the Rio Hondo Police Academy where I received my certification

as a California peace officer.

                            III. SUMMARY OF PROBABLE CAUSE

       5.     In July 2021, the Central Intelligence Agency (CIA) advised FPS that they had
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received various threatening messages via their online public website contact platform,

available at https://www.cia.gov. The CIA advised that the messages included threats to bomb
the Ronald Reagan Federal Courthouse in Santa Ana, California, among other places, and that

the CIA had reviewed the messages in McLean, Virginia.

       6.     The individual who posted the messages provided the name “Ralik Charity” and

the phone number (909) 346-4757. IP address information showed that the messages were

submitted from Los Angeles, California., and T-Mobile reported that the (909) 346-4757 phone

number was subscribed to CHARITY.

       7.     I interviewed CHARITY in person on July 12, 2021, and he admitted to sending

messages to the CIA.

                         IV. STATEMENT OF PROBABLE CAUSE

       8.     Based on my review of the posted threats submitted to the CIA, conversations

with other law enforcement officers, and my own knowledge of the investigation, I am aware of

the following:

      A.      The CIA Received Numerous Threatening Messages from “Ralik Charity,”
              Using CHARITY’s Phone Number.

      9.      On July 12, 2021, the CIA received the following messages, all listing the name

“Ralik CHARITY” and the (909) phone number subscribed to CHARITY:

                 x     “porshe 911 symbolic September 11,” along with three images depicting
                       explosives

                 x     “porshe 911 symbloic september 11, bomb on the way tomorrow”

                 x     “bomb on the way tomorrow porshe 911 symbloic September 11. 411 W
                       4st# 1-053, Santa Ana, CA 92701. By: Ralik Charity 7:30 am”

                 x     “bombing the federal building tomorrow in California Ronald Reagan
                       Federal Headquarters”

                 x     "i need to talk to a CIA ill bomb the federal building i need 150 million for
                       each drag and tran on charbute. porshe 911 symbloic september 11 i will



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                   bomb the federal building, 411 W 4th st# 1-053 Santa Ana, Ca 92701.”

               x   “Give me my money 150million for charbute or ill have start teaching
                   truck drivers that the Porshce 911 is symbloic to september 11 ill plan a

                   bomb”

               x   “i googled 150 million CIAO I need 150 million for each tran and drag or
                   ill teach people the porsche 911 is symbloic to sepetember 11. From

                   charbute. Mauritinia flashed a light and i been running from a flashing

                   light four years, or ill see you at the Federal Building. in Santa Ana. And

                   bomb the building”

      10.   On July 13, 2021, the CIA received the below message, which listed the name

“Ralik Charity” and the (909) phone number subscribed to CHARITY:

               x    “I will be bombing the Fedral Building, thats the Ronald Reagan Center
                    at 411 W 4th St# 1-053 Santa Ana Ca The porsche 911 is symbloic to

                    September 11, i start teaching people. 150 million for each tran and drag

                    on charbute. Ralik Charity.”

      11.   On July 14, 2021, the CIA received the following messages, all listing the name

“Ralik Charity” and the (909) phone number subscribed to CHARITY:

               x     “i will bomb the US Capital Embassy for the left ears pinking Porsche
                     911 is symbloic to september 11 ralik charity”

               x     “I will bomb the federal reserve, with high explosives and chemical
                     gases. and bomb the white house porchse 911 is symblioc september 11

                     ralik charity”

               x     “I will bomb the World Trade Center Porsche 911 symbloic septemebr
                     11 bin laden”

               x     “i will be carrying heavy explosives and bombing the world trade center
                     one day porshe 911 is symbloic to september 11”

               x     “what the fuck are you going to do, three aircrafts fuck you porsche 911


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                        is symbloic septmeber 11”

       B.      CHARITY Admitted to Sending Messages to the CIA.

       12.     On July 12, 2021, I coordinated with the Buena Park Police Department (BPPD),

who located CHARITY sleeping in his vehicle outside the Century Motel in Buena Park,

California. Federal Bureau of Investigations (FBI) SA Andrew Broughton and I responded to

the Century Motel to interview CHARITY.

       13.     CHARITY admitted that he remembered submitting messages to the CIA and

explained that he was “baiting” law enforcement and wanted to turn himself in.

       14.     A Crisis Assessment Team (CAT) social worker responded to the Century Motel

that same day to speak with CHARITY. The social worker ascertained CHARITY met the

criteria for Welfare and Institutions Code (WIC) 5150 and placed CHARITY on an involuntary

psychiatric hold. I believe that CHARITY has since been released, based on the fact that the

CIA received additional messages from “Ralik Charity” on July 13 and 14.

                                      V.   CONCLUSION
        15.    For all of the reasons described above, there is probable cause to believe that

CHARITY has committed a violation of 18 U.S.C. § 844(e).


                                                           /s/
                                                      Thomas Vasquez
                                                      FPS Special Agent


Attested to by the applicant in accordance with the
requirements of Fed. R. Crim. P. 41 by telephone
on this 20th day of Ju
                    JJuly,
                       ly, 2021.



HONORABLE
HO
HON
  NO ORABLE JOHN D. EARLY
UNITED
U
UN I ED STATES MAGISTRATE JUDGE
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                           UDGE




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